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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 UNITED STATES OF AMERICA,


 vs.                                                     CASE NO. 8:10-CR-98-T-17-TBM


 ELEAZAR SOTO and
 ELIAS GUADALUPE SOTO
                                          /

                                               ORDER

        This cause comes before the Court on the defendants’ motions to modify custody/facility
 recommendation (Docs. 445 and 446). The Court has reviewed the motions and finds them well
 taken. Accordingly, it is.


        ORDERED that the defendants’ motions to modify custody/facility recommendation
 (Docs. 445 and 446) be granted and the Court makes the following recommendations for
 custody/facility placement, as requested in the motions: for Eleazar Soto, First: FCI Jessup,
 Second FCC Coleman, and Third FPC Pensacola and for Elias Guadalupe Soto
 First: FCI Jessup and Second FCC Coleman. A copy of this order is to be provided to the U.S.
 Probation Office to be placed in the files of the defendants and is to be attached to their
 Judgment and Commitment orders.
        DONE AND ORDERED in Chambers in Tampa, Florida this 12th day of March, 2012.




 Copies furnished to: All Counsel of Record
